







		NO. 12-08-00177-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




JOHNNY M. STAFFORD,§
	APPEAL FROM THE 

APPELLANT


V.§
	COUNTY COURT AT LAW NO. 2 OF


CITY OF LONGVIEW, TEXAS, ET AL,

APPELLEES§
	GREGG COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	This appeal is being dismissed for failure to comply with the Texas Rules of Appellate
Procedure.  See Tex. R. App. P. 42.3.  Pursuant to Rule 32.1, Appellant's docketing statement was
due to have been filed at the time the appeal was perfected, i.e., April 30, 2008.  See Tex. R. App.
P. 32.1.  On April 30, 2008, this court notified Appellant that he should file a docketing statement
within ten days if he had not already done so.  On the same date, by separate letter, this court notified
Appellant that the filing fee was due on or before May 12, 2008.

	Because Appellant did not file the docketing statement as requested in our April 30, 2008
letter, this court issued a second notice on May 16, 2008 advising Appellant that the docketing
statement was past due.  The notice also advised Appellant that the filing fee in the appeal was due
to have been paid on or before May 12, 2008, but had not been received.  See Tex. R. App. P. 5.  The
notice further provided that unless the docketing statement and filing fee were filed on or before
May&nbsp;27, 2008, the appeal would be presented for dismissal in accordance with Texas Rule of
Appellate Procedure 42.3.  The date for filing the docketing statement and the filing fee have passed,
and Appellant has not complied with the court's request.  Because Appellant has failed, after notice, 


to comply with Rules&nbsp;5 and 32.1, the appeal is dismissed.  See Tex. R. App. P. 42.3(c).

Opinion delivered June 4, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.












































(PUBLISH)


